     Case 2:18-cv-00089-LGW-BWC Document 41 Filed 01/22/19 Page 1 of 4




                IN THE UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF GEORGIA - BRUNSWICK

Ashton Brinkley and
Jared Spell,
                                   *
          Plaintiffs,

     v.                                 Civil Action No.:
                                        2:18-cv-00089-LGW-BWC
                                    *
Michael Glenn Waters,
an individual,
                                   *
Appling County School District,
                                   *
Dr. Scarlett M. Copeland,
Superintendent, in her Official *
and Individual Capacities,
                                *
Dr. Gene A. Starr, Principal,
in his Official and Individual
Capacities,
                                *
Violet Marchman, Teacher/
Educator, in her Official and
Individual Capacities,
                                *
James Carol Waters, an
individual,
                                *
Wanda L. Waters, an individual, *
                                *
     and
                                *
John/Jane Does Nos. 1-5,
                                *
          Defendants.

                        NOTICE OF APPEARANCE

     You are hereby notified that the undersigned will appear as

counsel in the above-stated case on behalf of the defendant,

Violet Marchman. Please serve copies of all pleadings and other
    Case 2:18-cv-00089-LGW-BWC Document 41 Filed 01/22/19 Page 2 of 4



matters upon the undersigned as required by law.



     This 22nd day of January, 2019.



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                                            SMITH, LAWRENCE & SHENTON


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    Case 2:18-cv-00089-LGW-BWC Document 41 Filed 01/22/19 Page 3 of 4




                       CERTIFICATE OF SERVICE

     I hereby certify that I have this day served a copy of the

foregoing NOTICE OF APPEARANCE upon the following by mailing a

copy thereof, under sufficient postage to ensure delivery and

properly addressed to:

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     This 22nd day of January, 2019.
Case 2:18-cv-00089-LGW-BWC Document 41 Filed 01/22/19 Page 4 of 4




                                  /s/ W. Justin Purvis
                                  W. Justin Purvis
                                  Attorney for Defendant
                                  Violet Marchman

                                  Js/ Robert Evans
                                  Robert Evans
                                  Attorney for Defendant
                                  Violet Marchman
